Case 4:17-cv-03962-HSG Document 377-3 Filed 03/03/22 Page 1 of 4




              EXHIBIT 418
                           Case 4:17-cv-03962-HSG Document 377-3 Filed 03/03/22 Page 2 of 4



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      19
                                                 UNITED STATES DISTRICT COURT
      20
                                  NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
      21

      22
               STACIA STINER, et al.,                            Case No. 4:17-CV-03962-HSG (LB)
      23
                                   Plaintiffs,                   DECLARATION OF MATTHEW BUSER
                                                                 IN SUPPORT OF DEFENDANTS’
      24
                           v.                                    RESPONSE IN OPPOSITION TO
                                                                 PLAINTIFFS’ MOTION FOR CLASS
      25
               BROOKDALE SENIOR LIVING INC. et al.,              CERTIFICATION
      26
                                   Defendants.
      27

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                     DECLARATION OF MATTHEW BUSER IN SUPPORT OF DEFENDANTS’ RESPONSE IN OPPOSITION TO
                          PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION / CASE NO. 4:17-CV-03962-HSG (LB)
                  80132262v.1
Classified as Client Data
                           Case 4:17-cv-03962-HSG Document 377-3 Filed 03/03/22 Page 3 of 4



        1                  I, Matthew Buser, declare and state as follows:

        2                  1.     I have been employed by United Lex since May 1, 2011. My current title is Director –

        3      Document Review, which I have held since April 2019. In this role, I am responsible for, among other

        4      things, overseeing teams from United Lex that handle document review and coding projects. Except as

        5      otherwise stated, I have personal knowledge of the facts stated in this declaration, and, if called as a

        6      witness, I could and would testify competently thereto under oath to these facts.

        7                  2.     United Lex has been retained by Defendants Brookdale Senior Living Inc. and Brookdale

        8      Senior Living Communities, Inc. (collectively “Brookdale”) to provide discovery-related services in

        9      connection with this action.

      10                   3.     In February 2022, a review team from United Lex working under my supervision

      11       (“Review Team”) reviewed, among other things, residency agreements collected from the Residency

      12       Agreement System (“RAS”) and ARTIVA platforms, as well as collected in hard-copy format from

      13       communities in California.

      14                   4.     As part of their review, the Review Team coded for specific information such as the

      15       existence of particular phrases within a residency agreement, the existence and text of any footer

      16       language within a residency agreement, and the name of the entity that contracted with the resident in

      17       the residency agreement.

      18                   5.     The Review Team reviewed 8,508 signed residency agreements where the resident,

      19       representative, or power of attorney did not accept the arbitration provision within the residency

      20       agreement.

      21                   6.     The Review Team identified approximately 163 unique entities that contracted with the

      22       residents for memory care or assisted living services in the population of 7,767 residency agreements

      23       that it reviewed. None of these entities from these 7,767 residency agreements included Brookdale

      24       Senior Living Inc. or Brookdale Senior Living Communities, Inc.

      25

      26                                   [REMAINDER OF PAGE INTENTIONALLY LEFT BLANK]

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                     DECLARATION OF MATTHEW BUSER IN SUPPORT OF DEFENDANTS’ RESPONSE IN OPPOSITION TO
                          PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION / CASE NO. 4:17-CV-03962-HSG (LB)
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                           Case 4:17-cv-03962-HSG Document 377-3 Filed 03/03/22 Page 4 of 4



        1                  I declare under penalty of perjury under the laws of the United States and the States of California

        2      and Kansas that the above is true and correct.

        3                  Executed on March 3, 2022, in Overland Park, Kansas.

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                                                                                               3/3/2022
        6                                                             Matthew Buser
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                     DECLARATION OF MATTHEW BUSER IN SUPPORT OF DEFENDANTS’ RESPONSE IN OPPOSITION TO
                          PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION / CASE NO. 4:17-CV-03962-HSG (LB)
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